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                            IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE SOUTHERN DISTRICT OF TEXAS
                                       HOUSTON DIVISION

                                                                  )
    In re:                                                        )      Chapter 11
                                                                  )
    GWG Holdings, Inc., et al.,1                                  )      Case No. 22-90032 (MI)
                                                                  )
    Debtors.                                                      )      (Jointly Administered)



                                          AFFIDAVIT OF SERVICE


    STATE OF NEW YORK                 )
                                      )   ss:
    COUNTY OF KINGS                   )


I, Delicia A. Chung, declare:

                1. I am over the age of 18 years and not a party to these Chapter 11 cases.

                2. I am employed by Donlin, Recano & Company, Inc. (“DRC”), 6021 15th Avenue,
                   Brooklyn, NY 11219.

                3. On the 14th day of November, 2022, DRC, under my supervision, caused to serve,
                   a true and accurate copy of the following:

                       i.    Joint Emergency Motion for Status Conference (Docket No. 1055); and

                      ii.    Order Temporarily Suspending the Authority of the Board of Directors of
                             GWG Holdings, Inc (Docket No. 1061),

                   to be served via electronic mail upon the parties as set forth on Exhibit 1; and via
                   U.S. First Class Mail upon the parties as set forth on Exhibit 2, attached hereto.

1
      The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
      number, are: GWG Holdings, Inc. (2607); GWG Life, LLC (6955); GWG Life USA, LLC (5538); GWG DLP
      Funding IV, LLC (2589); GWG DLP Funding VI, LLC (6955); and GWG DLP Funding Holdings VI, LLC
      (6955).. The location of Debtor GWG Holdings, Inc.’s principal place of business and the Debtors’ service address
      is 325 N. St. Paul Street, Suite 2650 Dallas, TX 75201. Further information regarding the Debtors and these
      chapter 11 cases is available at the website of the Debtors’ claims and noticing agent:
      https://donlinrecano.com/gwg.
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I declare under penalty of perjury that the foregoing is true and correct to the best of my personal
knowledge. Executed this 21st day of November, 2022, Brooklyn, New York.


                                                     By ___________________________
                                                              Delicia A. Chung

Sworn before me this
21st day of November, 2022


________________________
       Notary Public




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                        EXHIBIT 1
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000020P002-1488S-155                             000020P002-1488S-155                                000020P002-1488S-155                        000020P002-1488S-155
AKIN GUMP STRAUSS HAUER & FELD LLP               AKIN GUMP STRAUSS HAUER & FELD LLP                  AKIN GUMP STRAUSS HAUER & FELD LLP          AKIN GUMP STRAUSS HAUER & FELD LLP
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000053P001-1488S-155                             000063P001-1488S-155                                000228P001-1488S-155                        000060P001-1488S-155
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000067P001-1488S-155                       000082P001-1488S-155                          000231P001-1488S-155                000069P001-1488S-155
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GWG HOLDINGS INC                             GWG HOLDINGS INC                                GWG HOLDINGS INC                        GWG HOLDINGS INC
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STE 2650                                     STE 2650                                        STE 2650                                STE 2650
DALLAS TX 75201                              DALLAS TX 75201                                 DALLAS TX 75201                         DALLAS TX 75201
EMAIL INTENTIONALLY OMITTED                  EMAIL INTENTIONALLY OMITTED                     EMAIL INTENTIONALLY OMITTED             EMAIL INTENTIONALLY OMITTED


000059P001-1488S-155                         000124P001-1488S-155                            000124P001-1488S-155                    000124P001-1488S-155
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WAYNE KITCHENS;HEATHER HEATH MCINTYRE        WAYNE KITCHENS;HEATHER HEATH MCINTYRE           WAYNE KITCHENS;HEATHER HEATH MCINTYRE   WAYNE KITCHENS;HEATHER HEATH MCINTYRE
TOTAL ENERGIES PLAZA                         TOTAL ENERGIES PLAZA                            TOTAL ENERGIES PLAZA                    TOTAL ENERGIES PLAZA
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000129P002-1488S-155                   000129P002-1488S-155                          000129P002-1488S-155                000129P002-1488S-155
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000049P002-1488S-155                   000459P001-1488S-155                          000022P001-1488S-155                000054P001-1488S-155
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000028P001-1488S-155                   000029P002-1488S-155                          000057P001-1488S-155                000096P001-1488S-155
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PAUL D MALMFELDT                       MARK D LISTON                                 RIKKE DIERSSEN-MORICE               MAURA HEALY
120 N LASALLE ST                       120 N LASALLE ST                              3300 WELLS FARGO CTR                ONE ASHBURTON PL
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PDM@MALMFELDT.COM                      MDL@MALMFELDT.COM                             RIKKE.MORICE@MASLON.COM
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000012P001-1488S-155                                000012P001-1488S-155                             000013P001-1488S-155                           000014P001-1488S-155
MAYER BROWN LLP                                     MAYER BROWN LLP                                  MAYER BROWN LLP                                MAYER BROWN LLP
CHARLES S KELLEY                                    CHARLES S KELLEY                                 THOMAS S KIRIAKOS                              LOUIS S CHIAPPETTA
700 LOUISIANA ST                                    700 LOUISIANA ST                                 71 S WACKER DR                                 71 S WACKER DR
STE 3400                                            STE 3400                                         CHICAGO IL 60606                               CHICAGO IL 60606
HOUSTON TX 77002-2730                               HOUSTON TX 77002-2730                            TKIRIAKOS@MAYERBROWN.COM                       LCHIAPPETTA@MAYERBROWN.COM
houstondocket@mayerbrown.com                        6843309420@filings.docketbird.com


000015P001-1488S-155                                000016P001-1488S-155                             000055P001-1488S-155                           000137P001-1488S-155
MAYER BROWN LLP                                     MAYER BROWN LLP                                  MURPHY AND MCGONIGLE PC                        NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED
ADAM C PAUL                                         LUCY F KWESKIN                                   ROBERT HOWARD JR
1221 AVENUE OF THE AMERICAS                         1221 AVENUE OF THE AMERICAS                      4870 SALDER RD
NEW YORK NY 10020-1001                              NEW YORK NY 10020-1001                           STE 301
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                                                                                                     ROBERT.HOWARD@MMLAWUS.COM


000138P001-1488S-155                                000139P001-1488S-155                             000140P001-1488S-155                           000141P001-1488S-155
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED        NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED     NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




000142P001-1488S-155                                000143P002-1488S-155                             000144P001-1488S-155                           000145P002-1488S-155
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED        NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED     NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




000146P002-1488S-155                                000147P002-1488S-155                             000148P001-1488S-155                           000149P001-1488S-155
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED        NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED     NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED
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000150P001-1488S-155                                000151P001-1488S-155                             000153P001-1488S-155                           000156P001-1488S-155
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED        NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED     NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




000159P001-1488S-155                                000160P001-1488S-155                             000161P001-1488S-155                           000162P001-1488S-155
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED        NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED     NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




000163P001-1488S-155                                000164P001-1488S-155                             000165P001-1488S-155                           000166P001-1488S-155
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED        NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED     NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




000167P001-1488S-155                                000168P001-1488S-155                             000169P001-1488S-155                           000170P001-1488S-155
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED        NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED     NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




000171P001-1488S-155                                000173P001-1488S-155                             000174P001-1488S-155                           000175P001-1488S-155
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED        NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED     NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




000176P001-1488S-155                                000177P001-1488S-155                             000178P001-1488S-155                           000179P001-1488S-155
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED        NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED     NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED
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000180P001-1488S-155                            000181P001-1488S-155                             000182P001-1488S-155                           000183P001-1488S-155
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED     NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




000184P001-1488S-155                            000185P001-1488S-155                             000186P001-1488S-155                           000187P001-1488S-155
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED     NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




000188P001-1488S-155                            000189P001-1488S-155                             000190P001-1488S-155                           000191P001-1488S-155
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED     NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




000192P001-1488S-155                            000193P001-1488S-155                             000194P001-1488S-155                           000195P001-1488S-155
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED     NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




000197P001-1488S-155                            000198P001-1488S-155                             000199P001-1488S-155                           000200P001-1488S-155
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED     NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




000201P001-1488S-155                            000202P001-1488S-155                             000203P001-1488S-155                           000204P001-1488S-155
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED     NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED
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000205P001-1488S-155                            000206P001-1488S-155                             000207P001-1488S-155                           000208P001-1488S-155
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED     NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




000209P001-1488S-155                            000210P001-1488S-155                             000211P001-1488S-155                           000214P001-1488S-155
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED     NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




000215P001-1488S-155                            000216P001-1488S-155                             000217P001-1488S-155                           000218P001-1488S-155
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED     NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




000219P001-1488S-155                            000220P001-1488S-155                             000222P001-1488S-155                           000223P001-1488S-155
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED     NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




000224P001-1488S-155                            000225P001-1488S-155                             000226P001-1488S-155                           000227P001-1488S-155
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED     NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




000235P001-1488S-155                            000236P001-1488S-155                             000237P001-1488S-155                           000238P001-1488S-155
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED     NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED
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000239P001-1488S-155                            000240P001-1488S-155                             000241P001-1488S-155                           000242P001-1488S-155
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED     NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




000243P001-1488S-155                            000244P001-1488S-155                             000245P001-1488S-155                           000246P001-1488S-155
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED     NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




000247P001-1488S-155                            000248P001-1488S-155                             000249P001-1488S-155                           000250P001-1488S-155
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED     NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




000250P001-1488S-155                            000251P001-1488S-155                             000252P001-1488S-155                           000253P001-1488S-155
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED     NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




000254P001-1488S-155                            000255P001-1488S-155                             000256P001-1488S-155                           000257P001-1488S-155
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED     NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




000258P001-1488S-155                            000259P001-1488S-155                             000261P001-1488S-155                           000262P001-1488S-155
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED     NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED
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000263P001-1488S-155                            000264P001-1488S-155                             000265P001-1488S-155                           000266P001-1488S-155
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000268P001-1488S-155                            000269P001-1488S-155                             000270P001-1488S-155                           000271P001-1488S-155
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED     NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




000272P001-1488S-155                            000273P001-1488S-155                             000274P001-1488S-155                           000275P001-1488S-155
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED     NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




000277P001-1488S-155                            000278P001-1488S-155                             000279P001-1488S-155                           000280P001-1488S-155
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED     NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




000282P001-1488S-155                            000283P001-1488S-155                             000284P001-1488S-155                           000286P001-1488S-155
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED     NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




000287P001-1488S-155                            000289P001-1488S-155                             000290P001-1488S-155                           000291P001-1488S-155
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED     NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED
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000293P001-1488S-155                            000294P001-1488S-155                             000295P001-1488S-155                           000296P001-1488S-155
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED     NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




000297P001-1488S-155                            000298P001-1488S-155                             000299P001-1488S-155                           000300P001-1488S-155
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED     NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




000301P001-1488S-155                            000302P001-1488S-155                             000303P001-1488S-155                           000304P001-1488S-155
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED     NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




000305P001-1488S-155                            000306P001-1488S-155                             000307P001-1488S-155                           000308P001-1488S-155
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED     NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




000309P001-1488S-155                            000310P001-1488S-155                             000311P001-1488S-155                           000312P001-1488S-155
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000313P001-1488S-155                            000314P001-1488S-155                             000315P001-1488S-155                           000316P001-1488S-155
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000317P001-1488S-155                            000319P001-1488S-155                             000320P001-1488S-155                           000321P001-1488S-155
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED     NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




000322P001-1488S-155                            000323P001-1488S-155                             000324P001-1488S-155                           000325P001-1488S-155
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED     NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




000326P001-1488S-155                            000327P001-1488S-155                             000328P001-1488S-155                           000329P001-1488S-155
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED     NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




000330P001-1488S-155                            000331P001-1488S-155                             000332P001-1488S-155                           000335P001-1488S-155
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000336P001-1488S-155                            000338P001-1488S-155                             000339P001-1488S-155                           000340P001-1488S-155
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED     NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




000341P001-1488S-155                            000342P001-1488S-155                             000343P001-1488S-155                           000344P001-1488S-155
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000345P001-1488S-155                            000346P001-1488S-155                             000348P001-1488S-155                           000349P001-1488S-155
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED     NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




000350P001-1488S-155                            000351P001-1488S-155                             000352P001-1488S-155                           000353P001-1488S-155
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED     NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




000354P001-1488S-155                            000355P001-1488S-155                             000357P001-1488S-155                           000358P001-1488S-155
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED     NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




000359P001-1488S-155                            000360P001-1488S-155                             000361P001-1488S-155                           000362P001-1488S-155
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED     NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




000363P001-1488S-155                            000364P001-1488S-155                             000365P001-1488S-155                           000366P001-1488S-155
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000367P001-1488S-155                            000368P001-1488S-155                             000369P001-1488S-155                           000370P001-1488S-155
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000371P001-1488S-155                            000372P001-1488S-155                             000373P001-1488S-155                           000374P001-1488S-155
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED     NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




000375P001-1488S-155                            000376P001-1488S-155                             000377P001-1488S-155                           000378P001-1488S-155
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000380P001-1488S-155                            000382P001-1488S-155                             000383P001-1488S-155                           000384P001-1488S-155
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000385P001-1488S-155                            000386P001-1488S-155                             000387P001-1488S-155                           000388P001-1488S-155
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000389P001-1488S-155                            000390P001-1488S-155                             000391P001-1488S-155                           000392P001-1488S-155
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED     NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




000393P001-1488S-155                            000394P001-1488S-155                             000395P001-1488S-155                           000396P001-1488S-155
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED     NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED
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000397P001-1488S-155                            000399P001-1488S-155                             000400P001-1488S-155                           000401P001-1488S-155
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED     NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




000402P001-1488S-155                            000403P001-1488S-155                             000404P001-1488S-155                           000405P001-1488S-155
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED     NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




000406P001-1488S-155                            000407P001-1488S-155                             000408P001-1488S-155                           000409P001-1488S-155
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED     NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




000410P001-1488S-155                            000411P001-1488S-155                             000414P001-1488S-155                           000415P001-1488S-155
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED     NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




000416P001-1488S-155                            000417P002-1488S-155                             000418P001-1488S-155                           000419P001-1488S-155
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED     NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




000420P001-1488S-155                            000421P001-1488S-155                             000422P001-1488S-155                           000423P001-1488S-155
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED     NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED
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000425P001-1488S-155                            000426P001-1488S-155                             000427P001-1488S-155                           000428P001-1488S-155
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED     NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




000429P001-1488S-155                            000430P001-1488S-155                             000431P001-1488S-155                           000432P001-1488S-155
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED     NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




000433P001-1488S-155                            000434P001-1488S-155                             000435P001-1488S-155                           000436P001-1488S-155
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED     NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




000437P001-1488S-155                            000438P001-1488S-155                             000439P001-1488S-155                           000440P001-1488S-155
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED     NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




000441P001-1488S-155                            000442P001-1488S-155                             000447P001-1488S-155                           000448P001-1488S-155
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED     NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




000449P001-1488S-155                            000450P001-1488S-155                             000452P001-1488S-155                           000453P001-1488S-155
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED     NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED
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000454P001-1488S-155                            000455P001-1488S-155                             000456P001-1488S-155                           000457P001-1488S-155
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED     NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




000458P001-1488S-155                            000461P001-1488S-155                             000462P001-1488S-155                           000463P001-1488S-155
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED     NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




000464P001-1488S-155                            000465P001-1488S-155                             000466P001-1488S-155                           000467P001-1488S-155
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED     NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




000468P001-1488S-155                            000469P001-1488S-155                             000470P001-1488S-155                           000471P001-1488S-155
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED     NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




000472P001-1488S-155                            000473P001-1488S-155                             000474P001-1488S-155                           000476P001-1488S-155
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED     NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




000477P001-1488S-155                            000479P001-1488S-155                             000480P001-1488S-155                           000481P001-1488S-155
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED     NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED
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000482P001-1488S-155                            000483P001-1488S-155                             000484P001-1488S-155                           000485P001-1488S-155
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED     NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




000486P001-1488S-155                            000487P001-1488S-155                             000488P001-1488S-155                           000489P001-1488S-155
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED     NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




000491P001-1488S-155                            000493P001-1488S-155                             000494P001-1488S-155                           000495P001-1488S-155
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED     NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




000496P001-1488S-155                            000497P001-1488S-155                             000498P001-1488S-155                           000499P001-1488S-155
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED     NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




000500P001-1488S-155                            000501P002-1488S-155                             000503P001-1488S-155                           000504P001-1488S-155
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED     NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




000506P001-1488S-155                            000507P001-1488S-155                             000508P001-1488S-155                           000509P001-1488S-155
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED     NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED
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000510P001-1488S-155                            000511P001-1488S-155                             000512P001-1488S-155                           000513P001-1488S-155
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED     NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




000514P001-1488S-155                            000515P001-1488S-155                             000516P001-1488S-155                           000517P001-1488S-155
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED     NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




000518P001-1488S-155                            000519P001-1488S-155                             000520P001-1488S-155                           000522P001-1488S-155
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED     NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




000523P001-1488S-155                            000524P001-1488S-155                             000525P001-1488S-155                           000527P001-1488S-155
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED     NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




000528P001-1488S-155                            000529P001-1488S-155                             000530P001-1488S-155                           000531P001-1488S-155
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED     NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




000532P001-1488S-155                            000533P001-1488S-155                             000534P001-1488S-155                           000535P001-1488S-155
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED     NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED
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000536P001-1488S-155                            000537P001-1488S-155                             000538P001-1488S-155                           000539P001-1488S-155
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED     NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




000540P001-1488S-155                            000541P001-1488S-155                             000542P001-1488S-155                           000543P001-1488S-155
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED     NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




000544P001-1488S-155                            000546P001-1488S-155                             000547P001-1488S-155                           000548P001-1488S-155
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED     NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




000550P001-1488S-155                            000551P001-1488S-155                             000552P001-1488S-155                           000553P001-1488S-155
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED     NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




000554P001-1488S-155                            000555P001-1488S-155                             000556P001-1488S-155                           000557P001-1488S-155
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED     NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




000559P001-1488S-155                            000560P001-1488S-155                             000561P001-1488S-155                           000562P001-1488S-155
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED     NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED
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000563P001-1488S-155                            000569P001-1488S-155                             000570P001-1488S-155                           000571P001-1488S-155
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED     NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




000572P001-1488S-155                            000573P001-1488S-155                             000574P001-1488S-155                           000575P001-1488S-155
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED     NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




000576P001-1488S-155                            000577P001-1488S-155                             000578P001-1488S-155                           000579P001-1488S-155
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED     NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




000580P001-1488S-155                            000581P001-1488S-155                             000582P001-1488S-155                           000583P001-1488S-155
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED     NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




000584P001-1488S-155                            000585P001-1488S-155                             000586P001-1488S-155                           000587P001-1488S-155
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED     NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




000588P001-1488S-155                            000589P001-1488S-155                             000590P001-1488S-155                           000591P001-1488S-155
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED     NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED
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000592P001-1488S-155                            000593P001-1488S-155                             000594P001-1488S-155                           000595P001-1488S-155
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED     NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




000596P001-1488S-155                            000597P001-1488S-155                             000598P001-1488S-155                           000598P001-1488S-155
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED     NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




000599P001-1488S-155                            000600P001-1488S-155                             000601P001-1488S-155                           000602P001-1488S-155
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED     NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




000604P001-1488S-155                            000605P001-1488S-155                             000606P001-1488S-155                           000607P001-1488S-155
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED     NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




000608P001-1488S-155                            000609P001-1488S-155                             000610P001-1488S-155                           000611P001-1488S-155
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED     NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




000612P001-1488S-155                            000614P001-1488S-155                             000615P001-1488S-155                           000616P001-1488S-155
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED     NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED
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000617P001-1488S-155                            000618P001-1488S-155                             000621P001-1488S-155                           000622P001-1488S-155
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED     NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




000623P001-1488S-155                            000624P001-1488S-155                             000626P001-1488S-155                           000628P001-1488S-155
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED     NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




000629P001-1488S-155                            000631P001-1488S-155                             000632P001-1488S-155                           000633P001-1488S-155
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED     NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




000634P001-1488S-155                            000635P001-1488S-155                             000636P001-1488S-155                           000638P001-1488S-155
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED     NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




000639P001-1488S-155                            000639P001-1488S-155                             000640P001-1488S-155                           000641P001-1488S-155
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED     NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




000642P001-1488S-155                            000643P001-1488S-155                             000644P001-1488S-155                           000645P001-1488S-155
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED     NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED
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000646P001-1488S-155                            000650P001-1488S-155                             000651P002-1488S-155                           000654P001-1488S-155
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED     NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




000655P001-1488S-155                            000656P001-1488S-155                             000658P001-1488S-155                           000659P001-1488S-155
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED     NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




000660P001-1488S-155                            000660P001-1488S-155                             000661P001-1488S-155                           000662P001-1488S-155
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED     NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




000663P001-1488S-155                            000664P001-1488S-155                             000665P001-1488S-155                           000666P001-1488S-155
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED     NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




000667P001-1488S-155                            000668P001-1488S-155                             000669P001-1488S-155                           000670P001-1488S-155
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED     NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




000671P001-1488S-155                            000672P001-1488S-155                             000673P001-1488S-155                           000674P001-1488S-155
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED     NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED
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000675P001-1488S-155                            000676P001-1488S-155                             000677P001-1488S-155                           000678P001-1488S-155
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED     NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




000679P001-1488S-155                            000680P001-1488S-155                             000681P001-1488S-155                           000682P001-1488S-155
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED     NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




000683P001-1488S-155                            000684P001-1488S-155                             000685P001-1488S-155                           000686P001-1488S-155
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED     NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




000687P001-1488S-155                            000688P001-1488S-155                             000689P001-1488S-155                           000690P001-1488S-155
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED     NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




000691P001-1488S-155                            000692P001-1488S-155                             000693P001-1488S-155                           000694P001-1488S-155
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED     NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




000695P001-1488S-155                            000696P001-1488S-155                             000697P001-1488S-155                           000698P001-1488S-155
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED     NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED
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000699P001-1488S-155                            000700P001-1488S-155                             000701P001-1488S-155                           000702P001-1488S-155
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED     NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




000703P001-1488S-155                            000704P001-1488S-155                             000706P001-1488S-155                           000707P001-1488S-155
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED     NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




000708P001-1488S-155                            000709P001-1488S-155                             000710P001-1488S-155                           000711P001-1488S-155
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED     NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




000712P001-1488S-155                            000713P001-1488S-155                             000714P001-1488S-155                           000715P001-1488S-155
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED     NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




000716P001-1488S-155                            000717P001-1488S-155                             000718P001-1488S-155                           000719P001-1488S-155
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED     NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




000720P001-1488S-155                            000721P001-1488S-155                             000722P001-1488S-155                           000723P001-1488S-155
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED     NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED
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000724P001-1488S-155                            000728P001-1488S-155                             000729P001-1488S-155                           000730P001-1488S-155
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED     NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




000731P001-1488S-155                            000736P001-1488S-155                             000737P001-1488S-155                           000738P001-1488S-155
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED     NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




000739P001-1488S-155                            000740P001-1488S-155                             000741P001-1488S-155                           000742P001-1488S-155
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED     NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




000743P001-1488S-155                            000744P001-1488S-155                             000747P001-1488S-155                           000748P001-1488S-155
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED     NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




000749P001-1488S-155                            000750P001-1488S-155                             000751P001-1488S-155                           000752P001-1488S-155
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED     NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




000753P001-1488S-155                            000754P001-1488S-155                             000755P001-1488S-155                           000758P001-1488S-155
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED     NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED
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000759P001-1488S-155                            000760P001-1488S-155                             000762P001-1488S-155                           000768P001-1488S-155
NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED    NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED     NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED   NAME ADDRESS AND EMAIL INTENTIONALLY OMITTED




000769P001-1488S-155                            000072P001-1488S-155                             000230P001-1488S-155                           000745P001-1488S-155
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000767P001-1488S-155                               000133P002-1488S-155                                000134P003-1488S-155                        000131P001-1488S-155
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000058P002-1488S-155                               000292P001-1488S-155                                000073P002-1488S-155                        000019P002-1488S-155
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000030P001-1488S-155                               000132P002-1488S-155                                000132P002-1488S-155                        000132P002-1488S-155
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000132P002-1488S-155                                 000045P001-1488S-155                              000229P001-1488S-155              000732P001-1488S-155
TEXAS COMPTROLLER OF PUBLIC ACCOUNTS                 THE BENEFICIENT CO GROUP (USA) LLC                THOMAS HORTON                     TN DEPT OF REVENUE
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000051P001-1488S-155                                 000017P002-1488S-155                              000017P002-1488S-155              000018P001-1488S-155
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000128P001-1488S-155                                 000128P001-1488S-155                              000074P001-1488S-155              000066P001-1488S-155
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000031P001-1488S-155                            000079P001-1488S-155                            000032P001-1488S-155                           000098P001-1488S-155
BANK OF UTAH                                    CALIFORNIA ATTORNEY GENERAL                     CLMG CORP                                      MINNESOTA ATTORNEY GENERAL
CORPORATE TRUST                                 ROB BONTA                                       AS ADMINISTRATIVE AGENT                        KEITH ELLISON
50 SOUTH 200 EAST STE 110                       1300 I ST                                       7195 DALLAS PKWY                               1400 BREMER TOWER
SALT LAKE CITY UT 84111                         STE 1740                                        PLANO TX 75024                                 445 MINNESOTA ST
                                                SACRAMENTO CA 95814                                                                            ST. PAUL MN 55101-2131



000172P001-1488S-155                            000221P001-1488S-155                            000288P001-1488S-155                           000318P002-1488S-155
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000337P002-1488S-155                            000356P001-1488S-155                            000424P001-1488S-155                           000451P001-1488S-155
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000502P002-1488S-155                            000505P001-1488S-155                            000521P001-1488S-155                           000603P001-1488S-155
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000613P001-1488S-155                            000619P001-1488S-155                            000620P001-1488S-155                           000625P001-1488S-155
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000627P001-1488S-155                            000630P001-1488S-155                            000637P001-1488S-155                           000648P002-1488S-155
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000649P001-1488S-155                            000652P001-1488S-155                            000653P001-1488S-155                           000657P001-1488S-155
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000761P001-1488S-155                                000285P001-1488S-155                              000333P001-1488S-155                     000347P001-1488S-155
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000398P002-1488S-155                                000412P001-1488S-155                              000443P001-1488S-155                     000444P001-1488S-155
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000445P001-1488S-155                                000446P001-1488S-155                              000475P001-1488S-155                     000478P001-1488S-155
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000492P001-1488S-155                                000526P001-1488S-155                              000545P001-1488S-155                     000549P001-1488S-155
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000558P001-1488S-155                                000647P001-1488S-155                              000705P001-1488S-155                     000733P001-1488S-155
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000734P001-1488S-155                                000033P001-1488S-155                              000105P001-1488S-155                     000071P001-1488S-155
NAME AND ADDRESS INTENTIONALLY OMITTED              NATIONAL FOUNDERS LP                              NEW JERSEY ATTORNEY GENERAL              NEW TANGRAM LLC
                                                    AS ADMINISTRATIVE AGENT                           MATTHEW J PLATKIN                        DANIELLE STEVENS
                                                    PO BOX 1073                                       RICHARD J HUGHES JUSTICE COMPLEX         9200 SORENSEN AVE
                                                    WILMINGTON DE 19899                               25 MARKET ST 8TH FL WEST WING            SANTA FE SPRINGS CA 90670
                                                                                                      TRENTON NJ 08625



000107P001-1488S-155                                000116P001-1488S-155                              000118P001-1488S-155                     000009P001-1488S-155
NEW YORK ATTORNEY GENERAL                           SOUTH CAROLINA ATTORNEY GENERAL                   TENNESSEE ATTORNEY GENERAL               TEXAS ATTORNEY GENERAL
LETITIA JAMES                                       ALAN WILSON                                       HERBERT H SLATERY III                    KEN PAXTON
DEPT OF LAW                                         REMBERT C DENNIS OFFICE BLDG                      PO BOX 20207                             300 W 15TH ST
THE CAPITOL 2ND FL                                  1000 ASSEMBLY ST RM 519                           NASHVILLE TN 37202-0207                  AUSTIN TX 78701
ALBANY NY 12224-0341                                COLUMBIA SC 29211-1549




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